                                                                  FILED IN CHAMBERS
                                                                   U.S.D.C ATLANTA
                                                                  Jun 29 2022
                                                            Date: _________________________
                 IN THE UNITED STATES DISTRICT COURT
                                               KEVIN P. WEIMER , Clerk
               FOR THE NORTHERN DISTRICT OF GEORGIA
                            ROME DIVISION          s/Kari Butler
                                               By: ____________________________
                                                                    Deputy Clerk


WILLIAM RIGSBY,

             Plaintiff,                     CIVIL ACTION FILE

 v.                                         NO. 4:22-CV-00059-HLM-WEJ

HEALTHCARE REVENUE
RECOVERY GROUP, INC., doing
business as, HRRG,

             Defendant.

             ORDER RE: SUMMARY JUDGMENT MOTIONS

      The Court has entered a Scheduling Order in this case. In anticipation of the

filing of summary judgment motion(s), the Court issues the following guidelines:

      1.     Pursuant to Local Rule 56.1B., a party moving for summary judgment

must include with the motion a statement of material facts as to which the movant

contends there is no genuine issue to be tried. Each fact must be numbered, and

there must be only one sentence per number. A citation to the record must

follow each numbered fact. No more than fifty (50) numbered facts will be

considered except by leave of Court. Also, statements in the form of issues,

questions, or legal conclusions (rather than material facts) will not be considered.
      2.     Pursuant to Local Rule 56.1B., the respondent to a summary judgment

motion must include with the response brief a separate response to the movant’s

statement of material facts. The respondent must admit or deny each of the

movant’s numbered facts. If the respondent denies a numbered fact, a concise

factual explanation, limited to a brief paragraph, supported by a citation to

the record must be offered. Responses in the form of issues, questions, or legal

conclusions (rather than facts) will not be considered.

      3.     Local Rule 56.1B. also provides that a respondent may include, if

applicable, a statement of additional material facts which is contended to be

material and disputed.      This statement of additional material facts must

conform to the requirements set forth in paragraph 1 supra. If such a statement

of facts is included by respondent, Local Rule 56.1B. requires the movant to file a

response to each of respondent’s facts. This response must conform to the

requirements set forth in paragraph 2 supra.

      4.     Because “[i]t should be a party’s responsibility to direct the Court’s

attention separately to each portion of the record which supports each of the party’s

distinct arguments,” every factual statement made in the parties’ briefs should be

followed by a citation to their statement of material facts or a citation to the record
as applicable. Dickson v. Amoco Performance Prods., Inc., 845 F. Supp. 1565,

1570 (N.D. Ga. 1994).

      5.     Under Local Rule 7.1.E., motions are decided without a hearing.

However, if the parties believe that oral argument would be of assistance, then a

Joint Motion requesting oral argument should be filed by the time that briefing has

been completed. Because it is difficult for relatively new members of the bar to

gain experience in federal cases, the Court will be more inclined to schedule a

hearing if an attorney who has practiced law for less than seven (7) years will argue

for each side. Therefore, the Joint Motion should designate the attorneys who will

argue the motion and their years of experience.

      SO ORDERED, this the 29th day of June, 2022.



                      __________________________
                      WALTER E. JOHNSON
                      UNITED STATES MAGISTRATE JUDGE
